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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION



IN RE: WRIGHT MEDICAL
TECHNOLOGY, INC., CONSERVE
HIP IMPLANT PRODUCTS
LIABILITY LITIGATION,
                                                  1:12-MD-2329-WSD
This Document Relates To:
ALL CASES




                                    ORDER

      All member cases in this MDL have been closed. The Court finds that the

master docket, In re: Wright Medical Technology, Inc., Conserve Hip Implant

Products Liability Litigation, No. 1:12-MD-2329, should be closed.

      Accordingly,

      IT IS HEREBY ORDERED that the Clerk of Court is DIRECTED to

administratively close the master docket in this MDL.

      SO ORDERED this 26th day of June, 2018.
